
Upon an appeal from a decree of Pitts-syl vania County Court.
In this cause, master commissioner Green-how made a report to the last term ; and, early in the present term, the decree of the court below was reversed, and a decree entered agreeably to the report of the commissioner, to which no exceptions were then filed; and now Mr. Wickham, counsel for the appellees, moved to set aside the decree, and to file exceptions to the report.
PER CURIAM.
The eighteenth rule of this Court requires that exceptions to reports should be filed thirty days before the term at which they may be acted upon ; but, notwithstanding this, the rule will not be construed as, at any time, to preclude a party from the benefit of exceptions ; but the hearing of the cause is not to be delayed on that account; nor, unless the exceptions are 1 filed within the time prescribed by the rule, and good cause be shewn.
The exceptions may now be filed; and the entry so amended, as to let it appear they have been overruled; the Court not perceiving in them any reasonable objections to the decree as it now stands.
